Case 1:23-cv-00243-WES-PAS   Document 30    Filed 09/12/23   Page 1 of 1 PageID #:
                                   438




                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF RHODE ISLAND



 REV. WILLIAM BOOTH,

      Plaintiff,


            v.                                      CA No. 23-cv-243-WES


 CITIZENS BANK, N.A., AND NABEEL
 BHATTI,

      Defendants.



                                 JUDGMENT

      This action came to be heard before the Court and a decision
 has been rendered.    Upon consideration whereof, it is now hereby
 ordered, adjudged, and decreed as follows:


      Pursuant to the Memorandum and Order entered on September 12,
 2023, and in accordance with Fed. R. Civ. P. 58., judgment is
 entered dismissing this case.




      It is so ordered.


      September 12, 2023                   By the Court:


                                           /s/ William E. Smith
                                           United States District Judge
